     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 1 of 47



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


                                   )
UNITED STATES                      )
                  Government,      )
                                   )Criminal Action No. 11-10070-PBS
           v.                      )
                                   )
JOSEPH ZOLOT and LISA PLINER,      )
               Defendants.         )
                                   )

                         MEMORANDUM AND ORDER

                          September 11, 2013

Saris, U.S.D.J.

                            I. INTRODUCTION

     Defendants Joseph Zolot, a physician, and Lisa Pliner, a

nurse practitioner, are charged with illegal distribution of

methadone, oxycodone, and fentanyl under the Controlled

Substances Act (“CSA”), 21 U.S.C. § 841. They are also charged

with conspiracy. The indictment alleges that defendants’ illegal

distribution of methadone resulted in the death of six patients.

     Defendants have filed a motion to exclude the opinions of

government experts, Dr. Michael Baden and Dr. Richard Callery,

that methadone caused or contributed to the six deaths. They have

also moved to preclude government experts Dr. Christopher

Gilligan, Dr. Edward Michna, and Dr. Gerald Aronoff from

testifying that defendants prescribed controlled substances

without a legitimate medical purpose and outside the course of

usual practice.
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 2 of 47



     The government has moved to exclude the testimony of

defendants’ expert, Dr. Yale Caplan, that each of the six deaths

had other independently sufficient causes of death. They also

challenge the opinions of Dr. Carol Warfield and Dr. William

McCarberg, who will testify that there were no standards for

prescription practices in the field of pain management at the

time of defendants’ treatment.

     After evidentiary hearings on May 28 and 30, 2013, and a

review of the record and supplemental affidavits, Defendants’

Motion to Exclude Expert Opinion Regarding Causation (Docket No.

125) is ALLOWED IN PART AND DENIED IN PART; Defendants’ Motion to

Exclude Expert Opinion Regarding Their Medical Practice (Docket

No. 123) is ALLOWED IN PART and DENIED IN PART; and the

Government’s Motion to Exclude (Docket No. 122) is ALLOWED IN

PART and DENIED IN PART.

                      II. FACTUAL ALLEGATIONS

     The following background facts, most of which are disputed,

are alleged in the indictment.

     Dr. Zolot, a licensed physician, operated a medical practice

in Needham, Massachusetts. Nurse Pliner was a nurse practitioner

licensed to write prescriptions. Defendants issued prescriptions

for controlled substances to patients, despite indications that

such individuals were potentially abusing, misusing, or illegally

distributing these drugs. Between the years 2002-2007, defendants

                                   2
         Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 3 of 47



distributed these drugs without a legitimate medical purpose. By

providing only cursory examinations and investigations into

patient history, defendants were able to see 40-50 patients a

day, charging $300 for initial visits and $150 for follow-up

visits. By prescribing excessive dosages of highly addictive

drugs without a legitimate medical purpose, defendants encouraged

drug dependency in order to ensure patients returned for further

appointments. The government charges that defendants’ illegal

distribution practices led to the deaths of six patients1 due to

intoxication from methadone they prescribed.



                                  III. DISCUSSION

A. The Court’s Gatekeeping Role

     The admission of expert evidence is governed by Federal Rule

of Evidence 702, which codified the Supreme Court’s holding in

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), and

its progeny. See United States v. Diaz, 300 F.3d 66, 73 (1st Cir.

2002). Rule 702 states:

     If scientific, technical, or other specialized knowledge
     will assist the trier of fact to understand the evidence
     or to determine a fact in issue, a witness qualified as
     an expert by knowledge, skill, experience, training, or
     education, may testify thereto in the form of an opinion
     or otherwise, if (1) the testimony is based upon

     1
       The deaths charged in the indictment are: Dennis Dillon,
Jeffrey Campbell, Thomas Dunphy, James Curley, Christopher
Bartoloni, and Scot Poulack.


                                       3
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 4 of 47



     sufficient facts or data, (2) the testimony is the
     product of reliable principles and methods, and (3) the
     witness has applied the principles and methods reliably
     to the facts of the case.

Fed. R. Evid. 702.

     The trial court must determine whether the expert’s

testimony “both rests on a reliable foundation and is relevant to

the task at hand” and whether the expert is qualified. Daubert,

509 U.S. at 597; Diaz, 300 F.3d at 73. An expert’s methodology is

the “central focus of a Daubert inquiry,” but a court “may

evaluate the data offered to support an expert’s bottom-line

opinions to determine if that data provides adequate support to

mark the expert’s testimony as reliable.” Ruiz-Troche v. Pepsi

Cola of P.R. Bottling Co., 161 F.3d 77, 81 (1st Cir. 1998).

     Daubert itself listed four factors which should guide judges

in this determination: (1) whether the theory or technique can be

and has been tested; (2) whether the technique has been subject

to peer review and publication; (3) the technique’s known or

potential rate of error; (4) the level of the theory’s or

technique’s acceptance within the relevant discipline. United

States v. Mooney, 315 F.3d 54, 62 (1st Cir. 2002) (citing

Daubert, 509 U.S. at 593-94). “These factors, however, are not

definitive or exhaustive, and the trial judge enjoys broad

latitude to use other factors to evaluate reliability.” Mooney,

315 F.3d at 62 (citing Kumho Tire Co. v. Carmichael, 526 U.S.

137, 153 (1999)).

                                   4
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 5 of 47



     The Court must, however, keep in mind the Supreme Court’s

admonition that “[v]igorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof

are the traditional and appropriate means of attacking shaky but

admissible evidence.” Daubert, 509 U.S. at 596. If an expert’s

testimony is within “the range where experts might reasonably

differ,” the jury, not the trial court, should be the one to

“decide among the conflicting views of different experts.” Kumho

Tire, 526 U.S. at 153. “Only if the expert’s opinion is so

fundamentally unsupported that it can offer no assistance to the

jury must such testimony be excluded.” In re Viagra Prods. Liab.

Litig., 572 F. Supp. 2d 1071, 1078 (D. Minn. 2008) (quoting

Bonner v. Isp Techs., 259 F.3d 924, 929-30 (8th Cir. 2001)). As

the First Circuit has stated:

     In short, Daubert neither requires nor empowers trial
     courts to determine which of several competing scientific
     theories has the best provenance. It demands only that
     the proponent of the evidence show that the expert’s
     conclusion has been arrived at in a scientifically sound
     and methodologically reliable fashion.


Ruiz-Troche, 161 F.3d at 85. It is with these principles in mind

that the Court assesses the motions.

B. Causation Under the Controlled Substances Act

     One testified dispute involves the standard of causation

under the CSA. Under § 841(b) of the CSA, a defendant is subject

to a sentencing enhancement “if death or serious bodily injury


                                   5
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 6 of 47



results from the use of” drugs illegally disbursed by the

defendant. Defendants argue that proof that methadone contributed

to a patient’s death is not sufficient to demonstrate that

methadone was the cause-in-fact of death required by § 841(b).

Instead, they contend that the controlled substance must be a

necessary condition for death to occur, not that it simply played

a part in the death. The government argues that proof that

methadone was a contributory cause of death is sufficient to

prove cause-in-fact and apply the sentencing enhancement.

     The First Circuit has held, “What is required under the

death-enhancing statute is that the government prove

cause-in-fact, that is, that the decedent’s death was caused in

fact by his or her use of drugs that were distributed either by

the defendant himself or by others in a conspiracy of which the

defendant was a part.” United States v. De La Cruz, 514 F.3d 121,

138 (1st Cir. 2008). The circuits have split on what constitutes

sufficient evidence of causation under § 841(b). The Eighth

Circuit has held that the     “results from” requirement for an

enhanced sentence under § 841(b) is met by demonstrating the

illegally distributed drug was a “contributing cause” of death.

See United States v. Burrage, 687 F.3d 1015, 1021 (8th Cir. 2012)

(citing United States v. Monnier, 412 F.3d 859, 862 (8th Cir.

2005)). In contrast, the Seventh Circuit rejected a jury

instruction stating that an illegally distributed drug must be “a


                                   6
         Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 7 of 47



factor” or “must at least have played a part in the death or in

the serious bodily injury” to receive the enhancement. United

States v. Hatfield, 591 F.3d 945, 947-48 (7th Cir. 2010). The

Supreme Court has recently granted certiorari on the question

“Whether a person can be convicted for distribution of

[controlled substances] causing death utilizing jury instructions

which allow a conviction when the [drug] that was distributed

‘contributed to,’ death by ‘mixed drug intoxication,’ but was not

the sole cause of death of a person.” Burrage v. United States,

133 S. Ct. 2049 (2013). Accordingly, this Court has stayed the

trial, with the parties’ agreement, until the Supreme Court

decides the case.       In the interim, the Court will decide certain

Daubert issues. However, final resolution of some issues await

the Supreme Court’s ruling.

     i. Dr. Richard Callery

     Dr. Callery concludes that methadone, combined with other

narcotics, caused the death of the six victims listed in the

indictment. While not challenging Dr. Callery’s qualifications2,

defendants assert that Dr. Callery’s opinion that methadone


     2
      Dr. Richard Callery has been the Chief Medical Examiner for
the State of Delaware since 1994. He is also the Director of the
Forensic Sciences Laboratory. He is in charge of approximately
3,000 death investigations and 1,000 postmortem toxicology cases
each year. Dr. Callery received his undergraduate degree from the
University of Massachusetts, his MD from the American University
of the Carribean, and completed a pathology internship at Tufts
New England Medical Center.

                                       7
         Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 8 of 47



merely contributed to a patient’s death is not sufficient to

demonstrate that methadone was the cause-in-fact required by §

841(b). Accordingly, they seek to exclude Dr. Callery’s opinions

on the ground that they are irrelevant.

     Fed. R. Evid. 401 states that relevant evidence is that

which has “any tendency” to increase or decrease the probability

of a fact “of consequence in determining the action.” Dr.

Callery’s opinion that methadone contributed to the six deaths

makes it more probable that the methadone distributed by

defendants was the cause-in-fact of their deaths. Even under the

§ 841(b) causation standard that defendants embrace, Dr.

Callery’s conclusions are still relevant to that determination.

The motion to exclude Dr. Callery’s opinions is DENIED.

     ii. Dr. Michael Baden

     To prove that defendants’ distribution of methadone was the

cause of the patients’ deaths, the government seeks to introduce

the testimony of Dr. Michael M. Baden, a board certified forensic

pathologist.3 Defendants do not challenge Dr. Baden’s

     3
      Dr. Baden is a board-certified forensic pathologist, who
was the Chief Forensic Pathologist for the New York State Police
from 1985 until 2011. Prior to that he served in the Office of
the Chief Medical Examiner in New York City in various roles. He
has also served as President of the Society of Medical
Jurisprudence and Vice President of the American Academy of
Forensic Sciences. Dr. Baden was the chairperson of the Forensic
Pathology Panel of the United States Congress Select Committee on
Assassinations that investigated the deaths of John F. Kennedy
and Dr. Martin Luther King, Jr. He has held numerous teaching
positions and has been published in many national and

                                       8
         Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 9 of 47



qualifications. Dr. Baden testified that “but for” a methadone

intoxication five of Dr. Zolot’s deceased patients would not have

died. In his opinion one patient, James Curley, would not have

died “but for” the combination of methadone and oxycodone

intoxication. Defendants contend that Dr. Baden’s opinions are

unreliable because they are partially founded upon faulty

methodology that analyzes postmortem blood samples from the

victims, which indicated high levels of methadone concentrated in

the blood. Because of a phenomenon known as postmortem

redistribution (“PMR”), they argue that postmortem blood

concentrations of drugs are not reliable indicators of the cause

of a patient’s death.

     None of the experts disputes the basic scientific principles

governing PMR: “Post-mortem drug redistribution refers to the

processes by which the movement of drugs and other chemical

poisons between tissues, organs, and body fluids takes place

after death . . .”4 “The rate and extent of this movement varies



international medical journals. Several of his published articles
specifically analyze methadone-related deaths. Dr. Baden
testified that he has performed more than 20,000 autopsies
himself over the course of 50 years. He has supervised autopsies
many times that number. He has also investigated 1,000 to 2,000
drug overdose cases. Dr. Baden has testified in hundreds of other
trials, notably the O.J. Simpson trial and the John Belushi
trial.
     4
      D.S. Cook, R.A. Braithwaite, K.A. Hale, Estimating
antemortem drug concentrations from postmortem blood samples: the
influence of postmortem redistribution, 282 (J. Clin. Pathol.

                                       9
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 10 of 47



according to several factors, including the nature of the drug

and the time interval between death and postmortem specimen

collection.”5 Due to PMR, the concentrations of drugs “obtained

from postmortem samples do not necessarily reflect the blood

concentrations at the time of death.”6 With methadone

specifically, drug concentrations tend to be significantly higher

postmortem as compared to antemortem concentrations.7 This is

particularly true when using cardiac blood samples, which

generally yield higher drug concentrations than femoral blood




2000; 53:282-285).
     5
         Id.
     6
      Anne-Laure Pelissier-Alicot, Jean-Michael Gaulier, Pierre
Champsaur and Pierre Marquet, Mechanisms Underlying Postmortem
Redistribution of Drugs: A Review, 533 (Journal of Analytical
Toxicology, Vol. 27, Nov./Dec. 2003).
     7
       See Dimitiri Gerostamoulos, Jochen Beyer, Voula Staikos,
Penny Taylor, Noel Woodford, Olaf H. Drummer, The Effect of the
Postmortem Interval on the Redistribution of Drugs: a Comparison
of Mortuary Admission and Autopsy Blood Specimens, 5 (Forensic
Sci. Med. Pathol. May 22, 2012) (Concentrations of methadone
“increase significantly after death.”).

                                   10
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 11 of 47



specimens.8 Consequently, PMR “affects the interpretations of

postmortem blood concentrations.”9

     Dr. Baden relied on postmortem blood samples to determine

the concentration of methadone in the alleged victims’ blood. The

blood samples were taken at least one calendar day after death

for all patients (Tr. 1-122-23)10, potentially exacerbating the

effects of PMR.11 The blood samples from four of the six

decedents were also drawn from the heart, which is generally

understood to be a source more susceptible to PMR. (Tr. 2-37).

See also Ledbetter v. Blair Corp., 2012 U.S. Dist. LEXIS 88789,

at *16 (M.D. Ala. June 27, 2012) (finding forensic toxicologist’s

testimony on “the concentrations of drugs in [Plaintiff’s]

postmortem blood” met the requirements of Daubert and Rule 702,



     8
      See Cook, supra note 4, at 282 (“[P]ostmortem cardiac blood
concentrations were significantly higher than antemortem blood
concentrations.”); Richard W.Prouty & William H. Anderson, The
Forensic Science Implications of Site and Temporal Influences on
Postmortem Blood-Drug Concentrations, 245 (Journal of Forensic
Sciences, JFSCA, Vol. 35, No. 2, March 1990) (“[I]n general, the
femoral bloods were lower in concentration than that of the heart
and subclavian specimens.”).
     9
         Gerostamoulos, supra note 7, at 1.
     10
        Transcript notations for the Daubert hearings on May 28,
2013 and May 30, 2013 are indicated as follows: the first number
indicates whether the transcript is from Day One or Day Two of
the hearings; the second number indicates the page number or
ranges.
     11
      See Cooke, supra note 4 at 282 (“If the interval between
sampling and death is [four hours], or greater, then considerable
overestimation of drug concentration at death will result.”).

                                   11
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 12 of 47



and noting that peripheral blood samples taken ameliorated the

effects of postmortem distribution); Durham v. County of Maui,

729 F. Supp. 2d 1188, 1193 (D. Haw. 2010) (finding that expert

testimony regarding the concentration of marijuana in postmortem

bloodstream was “sufficiently reliable under Daubert” noting that

blood was drawn from subclavicular area away from heart, and body

was refrigerated to slow redistribution process).

     Given the variability of postmortem blood concentrations,

many scientists have counseled caution regarding the use of

postmortem blood to determine a patient’s cause of death.12

However, scientists advise only against using postmortem blood as



     12
      See C.M. Milroy, A.R.W. Forrest, Methadone deaths: a
toxicological analysis, 277 (J. Clin. Pathol. 2000; 53:277-281)
(“A degree of caution must be exercised in determining fatal
concentration because of the phenomenon of postmortem
redistribution.”); R.E. Ferner, Post-mortem clinical
pharmacology, 440 (British Journal of Clinical Pharmacology,
66:4/430-443, 2008) (“[C]oncentrations measured after death
cannot generally be interpreted to yield concentrations present
before death.”); United States Department of Health and Human
Services, Methadone-Associated Mortality: Report of a National
Assessment, SAMHSA Publication No. 04-3904, Substance Abuse
Treatment, Substance Abuse and Mental Health Services
Administration, 12 (2004) (“It is important to note that
postmortem blood concentrations of methadone do not appear to
reliably distinguish between individuals who have died from
methadone toxicity and those in whom the presence of methadone is
purely coincidental.”); Cook, supra note 4, at 284 (“[A] high
degree of error can arise from attempting to predict antemortem
concentrations from postmortem concentrations . . . .”); Steven
B. Karch, Boyd G. Stephens, Toxicology and pathology of deaths
related to methadone: retrospective review, 13 (West J. Med.
2000; 172:11–14) (“The presence of methadone is often an
incidental finding during postmortem examination which is
unrelated to the cause of death.”).

                                   12
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 13 of 47



the sole determination for cause of death, rather than

discouraging the use of postmortem blood concentrations at all.13

Indeed, some scientists have noted that “estimations [of

antemortem drug concentrations from postmortem specimens] are

frequently made and, in certain situations and with proper

caution, may be quite useful.”14

     Both government and defense experts relied on a text

authored by Randall C. Baselt15 to determine whether methadone

blood concentrations fell within a lethal or therapeutic range.

Dr. Baden noted that the Baselt text was “the bible of

toxicologists.” (Tr. 1-37). In the chapter on methadone related

deaths, Baselt reports various ranges of postmortem methadone


     13
      See Ferner, supra note 12, at 431 (“[A] positive result
from a qualitative test for the presence of a poisonous substance
is not sufficient of itself to establish that the poison caused
death . . . .”) (emphasis added); Michael C. Letsky, Ross E.
Zumwalt, Steven A. Seifert, and Blaine E. Benson, Cause of Death
Conundrum With Methadone Use, 193 (Am. J. Forensic Meth. Pathol.,
Vol. 32, No. 2, June 2011) (“The cause of death cannot be solely
based on drug concentrations and it may not be possible to come
to a conclusion as to the ‘the’ cause of death and the forensic
pathologist must be content with ‘a’ cause of death.”) (emphasis
added); Karch, supra note 11, at 12 (“Postmortem measurements of
methadone or its metabolite, or both, cannot be used in isolation
to identify which deaths are associated with methadone
toxicity.”) (emphasis added).
     14
       Prouty, supra note 8, at 244. See also id. at 268 (“It is
not the authors’ intent to imply that heart blood concentrations
are of no probative value in postmortem investigations, for they
are of significant value.”)
     15
       Randall C. Baselt, Disposition of Toxic Drugs and
Chemicals in Man 1021 - 1025 (9th ed.).

                                   13
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 14 of 47



blood concentrations in methadone-related deaths and averages the

ranges to 0.4 - 1.8 mg/L.16 See Trial Exh. 1 at 1023. In another

report, Dr. Charles Winek reports ranges of methadone

concentration as therapeutic, lethal, or toxic.17 See Trial Exh.

9 at 9.

     The government has presented reliable scientific literature

to support its position that pathologists who examine the

totality of the circumstances surrounding death may use

postmortem drug concentrations in determining cause of death, as

long as they account for the effects of PMR in their final




     16
       Id. at 1023 (reporting on four studies that showed lethal
methadone blood concentrations of 0.06 - 3.1 mg/L and 0.18 - 4.0
mg/L and with average methadone concentrations of 0.28 mg/L, 0.7
mg/L, and 1.3 mg/L, in contrast to non-methadone related deaths
which had methadone blood concentrations of 0.03 - 0.56 mg/L and
0.18 - 3.0 mg/L with average methadone concentrations of 0.11
mg/L, 0.64 mg/L, and 1.1 mg/L).
     17
      Dr. Winek calculated the lethal, toxic, and therapeutic
ranges in µg/mL. All of the autopsy and toxicology reports
discussed by the experts were calculated in ng/mL. As Dr. Caplan
noted in his testimony, µg/mL can be converted to ng/mL by
multiplying the values by one thousand. (Tr. 2-184-85). For ease
of comparison to the current case, both the µg/mL printed by Dr.
Winek and a conversion to ng/mL based on Dr. Caplan’s testimony
has been provided.

 Therapeutic or Normal             Toxic                  Lethal
0.075 - 1.10 µg/mL         0.2 - 2.0 µg/mL        0.4 - 1.8 µg/mL
    75 - 1100 ng/mL         200 - 2000 ng/mL         400 - 1800 ng/mL


                                   14
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 15 of 47



analysis.18 Some courts have excluded testimony using postmortem

samples, but only where the expert failed to factor PMR into his

cause of death analysis. See, e.g., In re Digitek Prods. Liab.

Litig., 821 F. Supp. 2d 822, 839-40 (S.D. W. Va. 2011) (excluding

expert testimony regarding postmortem drug concentrations where

the expert had “done no PMR research,” “could not testify as to

the meaning of [Plaintiff's] postmortem blood [drug]

concentration or whether it was affected by PMR,” and, thus, “did

not adequately account for the PMR effect” and “struggled with

the concept.”). For this reason, defendants’ across-the-board

challenge to the use of postmortem blood concentrations fails.

The Court now addresses the testimony regarding the six deaths

with this methodology in mind to determine whether Dr. Baden had

sufficiently reliable data for his conclusions concerning the


     18
      See Milroy, supra note 12, at 281 (“[T]he pathologist has
the advantage of examining the whole body, and can interpret the
toxicological findings in context.”); Letsky, supra note 13, at
195 (“This case emphasizes the well established principal [sic]
in forensic pathology that determining the cause of death cannot
be solely based on a laboratory analysis of drug concentrations.
In particular, postmortem blood methadone concentrations must be
integrated in context of decedent’s dose and dose regimen,
medical history, known and plausible pharmokinectic tolerance
models, postmortem changes, and circumstances of death before
assigning cause of death.”); T. Hilberg, S. Rogde, & J. Morland,
Postmortem Drug Redistribution – Human Cases Related to Results
in Experimental Animals, 8 (J. Forensic Sci 1999; 44(1):3–9) (“In
many cases circumstantial evidence indicates whether death was
due to an intoxication.”); The Forensic Toxicology Council,
Briefing: What is Forensic Toxicology?, 2 (“The pathologist
considers this [toxicology] information in the context of the
investigative and medical history of the case, and the findings
of disease or other medical conditions at autopsy.”).

                                   15
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 16 of 47



cause of the deaths.

     iii. The Six Deaths

     To evaluate whether the amount of methadone in each

patient’s blood was lethal, Dr. Baden compared the postmortem

blood concentrations to other methadone deaths reported in

literature to see if the levels were consistent. (Tr. 1-18, 37,

47, 89). Autopsies revealed the following amounts for the

decedents: Campbell 780 ng/mL; Dunphy 470 ng/mL; Curley 400

ng/mL; Bartoloni 950 ng/mL; Poulack 639 ng/mL; Dillon 580 ng/mL.

The deceased methadone blood concentrations all fell within both

the lethal and therapeutic ranges reported by both Winek and

Baselt.

     While acknowledging that a doctor cannot determine the

actual level of methadone at the time of death due to postmortem

redistribution, Dr. Baden explained that based on these ranges

and given the other evidence from the autopsy and witness

statements, he could determine methadone intoxication was the

cause of death. (Tr. 1-100-01, 112, 139, 167). Indeed, for four

of the six deaths Dr. Baden testified that knowing only that

methadone was present in the victims’ blood and not the specific

concentration, he would still opine that the cause of death was

methadone intoxication because of the other evidence surrounding

the death. (Tr. 1-112, 136, 139, 147, 150-51, 163). For Dillon

and Curley’s deaths, he did rely on the relatively high levels of


                                   16
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 17 of 47



methadone in combination with other factors to make his final

conclusion. (Tr. 1-153-54, 158).

     The defense argues that the overlap between the therapeutic

and lethal levels of methadone precludes a reliable conclusion

that methadone caused the deaths. It is true that the methadone

concentrations of the decedents fall within both the therapeutic

and lethal concentration ranges.        For this reason, defendants

argue it is faulty methodology to determine whether each of these

victims had lethal or therapeutic levels of methadone in their

blood. Dr. Baden acknowledged that all of the victims’ methadone

levels could have been within a therapeutic range. (Tr. 1-136,

145, 149, 151, 155, 160). However, based on all the other factors

present, he reasonably concluded methadone was the cause of

death. (Tr. 1-1-136, 145-46, 149, 151, 155, 160). For example,

Dr. Baden looked at the timing of the methadone prescription to

see if the death fell within the induction period of treatment

when death is most likely to occur (Dillon, Poulack);

pathological evidence of pulmonary edema – a tell-tale symptom of

methadone overdose (all decedents); the presence of a methadone

bottle next to the body (Dillon); unaccounted-for methadone pills

(Campbell, Curley, Poulack); witnesses who saw the decedent take

methadone doses exceeding prescription limits (Dillon, Campbell,

Bartoloni); the medical history of the decedent (Dillon, Dunphy);

and the presence or absence of other drugs (all decedents).


                                   17
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 18 of 47



     Finally, defendants’ challenges regarding the location and

timing of drawing the samples go to the weight of Dr. Baden’s

opinion, but not its admissibility. See United States v. Mackay,

715 F.3d 807, 828-30 (10th Cir. 2013) (holding sufficient

evidence to find doctor’s illegal prescription of controlled

substances caused victim’s death despite conflicting testimony on

PMR, noting “[w]hen experts do not reach the same conclusion, the

jury is responsible for making credibility determinations, not

the court.”); Adams v. Johnson & Johnson, 2009 WL 8652948, at *3

(S.D. Ill. July 15, 2009) (allowing evidence of postmortem

distribution noting that testimony goes “to the weight and not

the admissibility of the evidence sought to be excluded.”).

     In sum, Dr. Baden has provided sufficiently reliable data to

support his opinions that five of the six indicted deaths

resulted from methadone intoxication. His methodology is

consistent with the current scientific literature recommending

that pathologists look to the totality of the circumstances

together with postmortem drug concentrations to determine cause

of death. The motion to exclude Dr. Baden’s opinion with respect

to the deaths of Dillon, Campbell, Dunphy, Bartoloni, and Poulack

is DENIED.

     With respect to Curley’s death, Dr. Baden has used

sufficiently reliable methodology and data to opine that Curley’s

death was caused by a combination of methadone and oxycodone. He


                                   18
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 19 of 47



opined that evidence of pulmonary edema, (Tr. 1-68), unaccounted-

for methadone and oxycodone pills, id., and the presence of

methadone and oxycodone in the blood, (Tr. 1-159), lead to his

conclusion. However, Dr. Baden’s testimony was less than clear as

to whether methadone was the but-for cause of death, as opposed

to the combination of methadone and oxycodone. (Tr. 1-159).

Curley had 400 ng/mL of methadone, at the low end of the lethal

range, and 339 ng/mL of oxycodone.       Dr. Baden testified that he

thought the methadone played a greater role because of the

relatively lesser amount of oxycodone and fentanyl present in the

bloodstream. (Tr. 1-157, 159-60). Dr. Baden’s opinion that

methadone along with oxycodone caused Curley’s death may be

legally sufficient if the Supreme Court decides that a

“contributing cause” is sufficient to demonstrate “but for”

causation under the CSA. The Court defers ruling on the motion to

exclude the expert's opinion regarding Curley’s death. The

opinion may be supplemented within 30 days after the Burrage

opinion is issued.

     iv. Dr. Yale Caplan

     Defendants challenge the government’s charge that methadone

was the “but for” cause of the six indicted deaths through the

testimony of Dr. Yale Caplan, a board-certified forensic

toxicologist. His credentials as a forensic toxicologist are not




                                   19
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 20 of 47



challenged.19 Instead, the government argues that, as a

toxicologist, Dr. Caplan is not qualified to determine the cause

of death. The contention that only a forensic pathologist or

medical examiner is qualified to determine the ultimate cause of

death is unpersuasive. As a forensic toxicologist, he has the

expertise to give an opinion as to cause of death when toxic

substances (like methadone or cocaine) are involved.

     a. Chronic Cocaine Use

     In four of the six deaths – Campbell, Dunphy, Bartoloni and

Poulack – Dr. Caplan concluded that, to a reasonable degree of

scientific certainty, chronic cocaine use was an independently

sufficient cause of death. (Tr. 2-71, 73, 75-76, 82, 85, 91). Dr.

Caplan described how the presence of benzoylecgonine (“BZE”), the

cocaine metabolite, in these victims’ bloodstream indicated that

cocaine had recently been ingested. (Campbell, 576 ng/mL of BZE;

Dunphy, 321 ng/mL of BZE; Bartoloni, 936 ng/mL of BZE; Poulack,

1000 ng/mL of BZE.) None of the victims had the parent cocaine

substance in their bloodstream. See Def. Mot. in Limine, Exhs.

17, 19, 22, 23. A person who dies from an acute cocaine


     19
      Most recently, Dr. Caplan served as the Laboratory
Director at the Parole and Probation Division of Maryland's
Public Safety and Correctional Services, until last year when the
laboratory closed. Prior to that he worked at Quest Diagnostics
Incorporated from 1988-1999 in various roles, including Director
of Forensic Toxicology. Dr. Caplan worked for over 20 years in
the Maryland Medical Examiner's office, eventually serving as
Chief Toxicologist. He also served as president of the American
Board of Forensic Toxicology.

                                   20
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 21 of 47



intoxication will likely still have cocaine in his system, since

the body has not had time to metabolize the drug. (Tr. 2-77, 79).

Dr. Caplan explained that a person can die from chronic cocaine

use without any cocaine in the bloodstream. (Tr. 2-77, 79).20 Dr.

Caplan did not use the exact amount of BZE or cocaine in the

bloodstream to determine whether cocaine contributed to death.

Caplan Supp. Aff. at ¶ 6. He explained that because cocaine and

BZE are unstable antemortem and postmortem, the substances

deteriorate quickly and at varying rates, making it difficult to

provide any reliable range of lethal blood concentration.21

Instead, toxicologists must rely on the presence of cocaine or

BZE in the blood along with other factors.

     Dr. Caplan explained that a chronic cocaine death would be

accompanied by a number of heart changes or pathological evidence

of cardiac distress. (Tr. 2-145, 167). Myocardial hypertrophy,

which results in an enlarged heart, is one such pathological

symptom of chronic cocaine toxicity leading to sudden death.22

Dr. Caplan explained that cocaine use would be particularly

     20
       See, e.g., Steven B. Karch, Cocaine Cardiovascular
Toxicity, Southern Medical Association (2005).
     21
       See Erin A. Kolbrich, et al, Major and Minor Metabolites
of Cocaine in Human Plasma following Controlled Subcutaneous
Cocaine Administration, 501 Journal of Analystical Toxicology,
Vol. 30 (Oct. 2006); see also Karch, supra note 20 (“[B]lood
cocaine concentration is not a valid indicator of toxicity . .
..”).
     22
          Id. at 795.

                                   21
      Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 22 of 47



significant in a patient, such as one of the decedents, who

already had a weakened heart, since cocaine affects heart

functioning. (Tr. 2-72). In a supplemental affidavit, Dr. Caplan

testified that all four decedents whose deaths he attributed to

cocaine toxicity had “enlarged hearts.” Caplan Supp. Aff. ¶¶ 12-

15.

      Significantly, Dr. Caplan agreed that methadone may have

contributed to the four deaths, but in his view it was not the

most significant factor. (2-85, 90, 141). Dr. Caplan concluded

that Campbell, Dunphy, Bartoloni, and Poulack were all opioid-

tolerant, since they had been taking a variety of opiate drugs

over a period of time.23 (Tr. 2-70, 75, 80-81, 90). Both Dr.

Caplan and Dr. Baden testified that if a patient takes one form

of opioid or opiate drug, it may create a tolerance with all

opioids or opiates.24 (Tr. 1-26, Tr. 2-52). However, the FDA

warns that patients “tolerant” to other opioids may be completely




      23
      Opiates, such as morphine, heroin, or oxycodone, are drugs
derived from poppy seeds. Opioids, such as methadone and
fentanyl, are synthetic drugs made in a laboratory. (Tr. 1-35).
As these distinctions do not affect any legal determinations, for
the purposes of this opinion, the Court will use these terms
interchangeably. E.g., opiate-tolerant vs. opioid-tolerant.
      24
      Jonathan J. Lipman, The Methadone Poisoning Epidemic, The
Forensic Examiner, 7 (“Tolerance is defined as a reduced response
to one or more effects of a drug after repeated
administration.”).

                                    22
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 23 of 47



“intolerant” to methadone.25 One source submitted by the

government indicated a patient who is opioid-tolerant may be more

susceptible to methadone overdose than someone who is opioid-

“naive”.26 Dr. Caplan acknowledged some of the challenges with

cross-tolerance concerns between opioids. (Tr. 2-188). However,

he explained that the methadone levels in their blood fell within

the therapeutic range reported in the scientific literature. (Tr.

2-71, 90, 114, 141). See also Winek, supra note 17. Given the

four patients’ previous use of opioids, Dr. Caplan concluded that

these patients could have withstood a higher dose of methadone

than someone who had never taken opioids. (Tr. 2-188).

     Given the evidence of BZE and some indications of changes to

the heart, there is sufficient data to support Dr. Caplan’s


     25
       2006 FDA Warnings Methadone Tablets, Gov’t Resp. to Caplan
Aff., Exh 1 at 4 (“Patients tolerant to other opioids may be
completely intolerant to methadone. . . . Deaths have been
reported during conversion from chronic, high-dose treatment with
other opioid agonists. . . . A high degree of “opioid tolerance”
does not eliminate the possibility of methadone overdose.”);
Lipman, supra note 24, at 7 (“In the case of methadone, tolerance
development is incomplete . . . .”); Lynn R. Webster, Maximizing
Safety with Methadone and Other Opioids, Pain Treatment Topics, 3
(July 2007) (“cross-tolerance is incomplete even for individuals
currently prescribed high doses of other opioids”).
     26
       Bill H. McCarberg, et al., The Safe and Effective Use of
Methadone in Primary Care, Medscape Education Neurology &
Neurosurgery, 7 (2011) (“The thing about methadone I would want
primary care doctors to understand more than anything is that
hurting someone on methadone is very counterintuitive. It’s
exactly the person you think you can’t hurt, the opioid-tolerant
patient, because methadone is sometimes upwards of 80% more
potent in an opioid-tolerant patient than it is in an opioid-
naive patient.”).

                                   23
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 24 of 47



conclusion that chronic cocaine toxicity was an independently

sufficient cause of death for Campbell, Dunphy, Bartoloni and

Poulack. The motion to exclude Dr. Caplan’s testimony on this

topic is DENIED.

     b. Fentanyl

     Dr. Caplan concluded that fentanyl was more likely to have

caused Curley’s death than methadone, and that, to a reasonable

degree of scientific certainty, fentanyl was an independently

sufficient cause of death. (Tr. 2-60-61).        He opined that

Curley’s death was a multi-drug overdose. In support of his

conclusion, Dr. Caplan noted that fentanyl is eighty times more

potent than methadone or oxycodone. (Tr. 2-59-60). He also relied

on the high fentanyl-to-norfentanyl ratio in Curley's

bloodstream. (Tr. 2-60). Norfentanyl is the metabolite breakdown

product of fentanyl. Id. Compared to the 4.3 ng/mL in Curley's

bloodstream, he only had .64 ng/mL of norfentanyl. (Tr. 2-128).

His high fentanyl-to-norfentanyl ratio demonstrates that much of

the fentanyl had not been absorbed yet, indicating an acute

intoxication. (Tr. 2-123, 128). Additionally, Dr. Caplan

concluded that Curley was opioid-tolerant prior to beginning his

methadone treatment. (Tr. 2-58). Again, this tolerance could have

put Curley's bloodstream methadone concentration within the

therapeutic range. (Tr. 2-90).

     Given Dr. Caplan’s qualifications as a toxicologist,


                                   24
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 25 of 47



defendants have provided sufficiently reliable methodology and

data to support Dr. Caplan’s conclusion that fentanyl

intoxication was an independently sufficient cause of death for

Curley. The motion to exclude Dr. Caplan’s testimony on this

topic is DENIED.

     c. Cardiovascular Disease

     In the case of Mr. Dunphy, Dr. Caplan concluded that

cardiovascular disease was an independently sufficient cause of

death, in addition to chronic cocaine use. (Tr. 2-72). He stated

that he relied upon the medical examiner’s diagnosis to make this

determination. (Tr. 2-72). However, he provided no support beyond

the medical examiner’s diagnosis for his own opinion that

cardiovascular disease was independently sufficient to cause

death. He presented no independent analysis.

     Rule 703 allows an expert to rely on certain “facts or data”

if “experts in the particular field would reasonably rely on

those kinds of facts or data in forming an opinion on the

subject.” Fed. R. Evid. 703. This rule allows experts to rely

upon the opinions of other experts to form their own conclusions,

if that is common practice in the field. United States v. McGhee,

627 F.3d 454, 460 (1st Cir. 2010) (“Experts who testify regularly

in court commonly and permissibly rely in some measure on

information gathered by other experts.”). Nonetheless, “[a]

scientist, however well credentialed he may be, is not permitted


                                   25
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 26 of 47



to be the mouthpiece of a scientist in a different specialty.

That would not be responsible science.” Dura Auto. Sys. of Ind.,

Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002).27

     Dr. Caplan testified that, in his experience, toxicologists

regularly rely on the medical examiner’s diagnosis to determine

“whether a drug or something else may have caused the death.”

(Tr. 2-72-73). Thus, in rendering his opinion about cocaine, Dr.

Caplan may properly rely on heart pathology reports to reach a

conclusion that cocaine contributed to the cause of death.28

However, he cannot simply repeat a medical examiner’s opinion as

the only basis for his own opinion that there was another medical

cause of death, unless he has the expertise to independently


     27
       See also Member Services, Inc. v. Sec. Mut. Life Ins. Co.
of New York, 2010 U.S. Dist. LEXIS 103776, at *91, (N.D.N.Y. Sep.
30, 2010) (“While an expert may rely upon another expert to form
an opinion under Rule 703, an expert may not merely recite
another expert’s opinion as his own.”); Eberli v. Cirrus Design
Corp., 615 F. Supp. 2d 1357, 1364 (S.D. Fla. 2009) (“expert must
make some findings and not merely regurgitate another expert's
opinion”); Deutz Corp. v. City Light & Power, Inc., 2008 U.S.
Dist. LEXIS 110202, at *16 (N.D. Ga. 2008) (“While Rule 703
permits an expert to rely on ‘facts or data’ that are not
otherwise admissible into evidence in forming his opinion, it
does not permit an expert to simply parrot the opinions of other
experts.”); Louis Vuitton Malletier v. Dooney & Bourke, Inc., 525
F. Supp. 2d 558, 664 (S.D.N.Y. 2007) (“It is true that experts
are permitted to rely on opinions of other experts to the extent
that they are of the type that would be reasonably relied upon by
other experts in the field. But in doing so, the expert witness
must in the end be giving his own opinion. He cannot simply be a
conduit for the opinion of an unproduced expert.”).
     28
       See Karch, supra note 20 (cataloguing pathological changes
to heart to be considered alongside cocaine toxicology in
assessing cocaine-related deaths).

                                   26
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 27 of 47



reach that conclusion. There is no evidence that Dr. Caplan is an

expert in cardiovascular disease.       Thus, the motion to exclude

Dr. Caplan’s opinion that cardiovascular disease was an

independently sufficient cause of Curley’s death is ALLOWED.

     d. Sleep Apnea and Bipolar Disorder

     Finally, Dr. Caplan concluded that sleep apnea and bipolar

disorder were independently sufficient causes of death for Dennis

Dillon, although he had no expertise in these medical areas. Dr.

Caplan provided no evidence to support his conclusion that

bipolar disorder was independently sufficient to cause death. The

motion to exclude this opinion is ALLOWED. Similarly, Dr. Caplan

provided little evidence to suggest why sleep apnea was

independently sufficient to cause death. Dr. Caplan noted that

when Dillon was found, he did not have his CPAC mask on. (Tr.

2-66). This device is used to help sleep apnea patients breath,

and since Dillon was not wearing his sleep apnea mask, he was

subject to lack of oxygen. (Tr. 2-66). However, Dr. Caplan

provided no evidence to suggest that sleep apnea itself was the

cause, and he admitted that few deaths are caused solely by sleep

apnea. (Tr. 2-156). The motion to exclude Dr. Caplan from

testifying that sleep apnea is an independently sufficient cause

of death is ALLOWED.

C. Legitimate Medical Purpose in the Usual Course of Professional
   Practice


                                   27
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 28 of 47



     Government experts, Drs. Gerald Aronoff, Christopher

Gilligan, and Edward Michna, analyzed patient files from

defendants’ practice and concluded that they prescribed

controlled substances for these patients without a legitimate

medical purpose and outside the course of usual practice. While

not challenging their qualifications, the defendants seek to

exclude their opinions because 1) the sources cited by the

government do not establish a medical standard for pain

management; 2) the experts' conclusions are based on nothing but

their own say so; and 3) their opinions are based on unreliable

data, particularly urine drug tests. The parties did not seek an

evidentiary hearing.

     Defendants seek to introduce the testimony of Drs. Carol

Warfield29 and William McCarberg30, who will testify, among other

     29
       Dr. Carol Warfield is a full Professor at Harvard Medical
School. Dr. Warfield educates physicians currently serving
fellowships in pain medicine. She also periodically teaches
undergraduates at Harvard Medical School and anesthesia
residents. Dr. Warfield is board certified in Anesthesia and Pain
Medicine. She has two undergraduate degrees, one in math from
Jackson College and a Bachelor of Science degree in mechanical
engineering from Tufts University. She attended medical school at
Tufts University and received her MD in 1976. Dr. Warfield is a
practicing physician at Beth Israel Deaconess Medical Center and
started the pain center there in 1980. She served as its Director
of Pain Management and Vice Chairman of the Department for Pain
Medicine for about 20 years, at which time she became Chairman of
the anesthesia department. She has written more than 100 articles
and 4 books on pain management, including the Manual of Pain
Management.
     30
      Dr. McCarberg is the Founder of the Chronic Pain
Management Program for Kaiser Permanente in San Diego,

                                   28
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 29 of 47



things, that “although some general guidelines existed that could

apply to the treatment of pain management, there was no accepted

standard of care . . . [and] no requirements or obligations

relating to the practice of pain management existed in the 2002-

2007 time period applicable to the assessment of whether a

medical professional was acting in the usual professional

practice.” Def. Mot. in Limine, Exh 7: 6, 21. While not

challenging their qualifications, the government moves to exclude

these opinions on the grounds that they are not based on reliable

information and that defendants themselves have admitted there

were standards of care.

     i.   Determining the Standard of Medical Care

     Under § 841 of the CSA, a medical practitioner with a DEA

license may be convicted only if he intentionally prescribes a

controlled substances for other than “a legitimate medical

purpose in the usual course of professional practice.” See United

States v. Moore, 423 U.S. 122, 124 (1975) (“[R]egistered

physicians can be prosecuted under § 841 when their activities

fall outside the usual course of professional practice.”); 21


California. Dr. McCarberg received his MD from Northwestern
University Medical School. He is on the Board of Directors of the
American Academy of Pain Medicine and previously served on the
Board of Directors of the American Pain Society. He is President
of the Western Pain Society and Adjunct Assistant Clinical
Professor at the University of California at San Diego School of
Medicine. He has authored many scientific articles, including
topics on opioid treatment, and has given more than 250
presentations on pain management issues.

                                   29
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 30 of 47



C.F.R. § 1306.04. “[T]he standard for criminal liability under §

841(a) requires more than proof of a doctor’s intentional failure

to adhere to the standard of care.” United States v. Feingold,

454 F.3d 1001, 1011 (9th Cir. 2006). See also United States v.

Tran Trong Cuong, 18 F.3d 1132, 1137 (4th Cir. 1994) (noting that

a criminal conviction “requires more” than a showing of

malpractice). Instead, “[a] practitioner becomes a criminal not

when he is a bad or negligent physician, but when he ceases to be

a physician at all.” Feingold, 454 F.3d at 1011.

     Nonetheless, courts have held “that it is appropriate in [§

841 cases] for the jury to consider the practitioner’s behavior

against the benchmark of acceptable and accepted medical

practice.” Id. Indeed, “only after assessing the standards to

which medical professionals generally hold themselves is it

possible to evaluate whether a practitioner’s conduct has

deviated so far from the ‘usual course of professional practice’

that his actions become criminal.” Id. at 1007 (citing United

States v. Moore, 423 U.S. 122, 126 (1975)). Thus, while a breach

of the medical standard of care, without more, is not dispositive

in a § 841 case against a physician, the government must present

evidence of the standard of care to prove that a doctor is acting

without a legitimate medical purpose or outside of the course of

usual practice. See United States v. Wexler, 522 F.3d 194, 204

(2d Cir. 2008) (“While failure to comply with the standard of


                                   30
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 31 of 47



care applicable to a medical specialty does not alone provide a

basis for concluding that a physician’s activities fall outside

the usual course of professional practice, it surely is relevant

to that determination.”); United States v. Chube, 538 F.3d 693,

698 (7th Cir. 2008) (“[I]t is impossible sensibly to discuss the

question whether a physician was acting outside the usual course

of professional practice and without a legitimate medical purpose

without mentioning the usual standard of care.”); United States

v. McIver, 470 F.3d 550, 561 (4th Cir. 2006)

(upholding expert testimony regarding standard of care and noting

“it is the extent and severity of departures from the

professional norms that underpin a jury’s finding of criminal

violations.”); Feingold, 454 F.3d at 1011 (“Knowing how doctors

generally ought to act is essential for a jury to determine

whether a practitioner has acted not as a doctor, or even as a

bad doctor, but as a ‘pusher’ whose conduct is without a

legitimate medical justification.”).

     Courts have upheld convictions where there was sufficient

evidence of physician behavior that demonstrated prescription

without legitimate medical purpose and outside the bounds of

professional practice, including the following situations: United

States v. Elder, 682 F.3d 1065, 1071 (8th Cir. 2012) (where

defendant did not maintain medical files of patients and rarely

saw patients himself); United States v. Singh, 390 F.3d 168, 179


                                   31
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 32 of 47



(2d Cir. 2004) (where physician-defendant developed scheme for

nurses to see patients and prescribe controlled substances and

signed prescriptions without knowing identity of patients);

United States v. Kaplan, 895 F.2d 618, 620-21 (9th Cir. 1990)

(where physician-defendants’ prescriptions were issued without

physical examination or medical history, and where defendant

issued up to 21 prescriptions in a month); United States v.

Bartee, 479 F.2d 484, 489 (10th Cir. 1973) (where doctor told

patients to fill prescriptions at different drugs stores, used

street slang to refer to drugs, knew patients were prone to trade

drugs, prescribed excessive dosages of controlled substances, and

made no physical examinations).

     The Supreme Court “has allowed juries to assess the

prevailing standards of care among medical professionals in cases

involving the criminal prosecution of licensed practitioners.”

Feingold, 454 F.3d at 1007 (citing Moore, 423 U.S. at 126). Cf.

United States v. Lovern, 590 F.3d 1095, 1100 (10th Cir. 2009)

(finding the question “what constitutes usual medical practice”

properly remained within the province of the jury, not the

government). Thus, to the extent both sides challenge the

standard of care espoused by qualified experts “the proper

response [is] to present evidence . . . of the purported disputes

within the medical community.” Feingold, 454 F.3d at 1007 n.1.

     The standard of acceptable medical care must ordinarily be


                                   32
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 33 of 47



established by expert testimony. See Lama v. Borras, 16 F.3d 473,

478 (1st Cir. 1994) (holding that “the trier of fact can rarely

determine the applicable standard of care without the assistance

of expert testimony”); Patel v. Gayes, 984 F.2d 214 (7th Cir.

1993) (holding that treating physicians’ testimony regarding

general standards of care is “classic” expert testimony”). Cf.

Levin v. Dalva Bros., 459 F.3d 68, 79 (1st Cir. 2006) (“Expert

testimony on industry standards is common fare . . . .”). In a

similar context, doctors commonly rely upon their experience and

training to opine as to the medical standard of care. See, e.g.,

Pages-Ramirez v. Ramirez-Gonzalez, 605 F.3d 109, 116 (1st Cir.

2010) (holding in a medical malpractice case that a doctor’s

“medical education and many years of experience in the field” was

a sufficiently “reliable foundation” to testify on medical

standard of care).

     However, the opinion of an expert, no matter how qualified

cannot simply be based on her say so. “[N]othing in either

Daubert or the Federal Rules of Evidence requires a district

court to admit opinion evidence that is connected to existing

data only by the ipse dixit of the expert.” Gen. Elec. Co. v.

Joiner, 522 U.S. 136, 146 (1997). The gate-keeping function of

the trial court requires more than merely “taking the expert's

word for it.” Fed. R. Evid. 702 advisory committee's note (citing

Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1319 (9th


                                   33
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 34 of 47



Cir. 1995) (“We’ve been presented with only the experts’

qualifications, their conclusions and their assurances of

reliability. Under Daubert, that's not enough.”)). “Experts may

testify on the basis of experience.” Brown v. Wal-Mart Stores,

Inc., 402 F. Supp. 2d 303, 308 (D. Me. 2005).         However, “if the

[expert] witness is relying solely or primarily on experience,

then the witness must explain how that experience leads to the

conclusion reached, why that experience is a sufficient basis for

the opinion, and how that experience is reliably applied to the

facts.” Id. (citing Fed. R. Evid. 702 advisory committee's note).

     ii.   Standard of Medical Care for Pain Management

     The government cites certain written standards establishing

the standard of medical care in the area of pain management.            Dr.

Aronoff relies upon the Federation of State Medical Boards’

(“FSMB”) Model Policy for the Use of Controlled Substances for

the Treatment of Pain (“Model Policy”). Drs. Gilligan and Michna

rely upon both current and historical versions of “(1) the

applicable labels and/or FDA warnings related to methadone

products, oxycodone products (including OxyContin), and fentanyl

products (including Actiq); (2) the Commonwealth of Massachusetts

Board of Registration in Medicine’s Prescribing Practices Policy

and Guidelines, Policy 89-01 (“BOR Prescribing Practices

Policy”); and (3) Responsible Opioid Prescribing by Scott

Fishman, M.D.” (Def. Mot. in Limine, Exh. 5, 2). The defendants


                                   34
        Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 35 of 47



contend that these sources do not establish a medical standard of

care.

        The government highlights language from the BOR Prescribing

Practices Policy demonstrating that the policy was meant to

establish a standard of care for pain management physicians. The

BOR Prescribing Practices Policy was adopted by the Commonwealth

of Massachusetts Board of Registration in Medicine in August

1989. The goal of the policy is to inform “physicians as to the

legal requirements upon them and the standards the Board applies

in reviewing their prescribing practices.” Id. at 2. The policy

lists several indications of when a physician is not prescribing

medication for a legitimate medical purpose.31 Id. at 13-15. The

policy also explains that “the physician must conform to certain

minimum norms and standards for the care of patients.” Id. at 14.



        31
      The indications listed by the BOR Prescribing Practices
Policy includes:

        a) Failure to follow at least minimum professional
        procedures . . . ; b) The physician permitting the patient
        to name the drug he desires; c) The physician expressing
        concern during a patient encounter as to how and where a
        prescription would be filled in a manner that does not
        indicate a good faith concern for his patient; d) Repeated
        refills over relatively short periods; e) General remarks of
        the physician indicating his or her experience with non-
        therapeutic uses of the drug and of drug enforcement actions
        and procedures; f) Failure to schedule appropriate
        additional appointments for return visits and other factors
        indicating a lack of interest in follow-up care; and g)
        Conversations and other circumstances that demonstrate that
        the physician knew that the drugs were not to be used for a
        therapeutic or medical purpose.

                                      35
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 36 of 47



The policy then lists several behaviors that are required to meet

“[a] minimum standard of proper medical practice.” Id.          See also

United States v. Hoffman, 2006 U.S. Dist. LEXIS 89926, at *12 (D.

Me. Dec. 12, 2006) (“While violation of the [BOR Prescribing

Practices Policy] is not determinative, depending on the

regulation violated, on the issue of criminal liability under the

CSA, it is relevant to aid the jury in assessing what constitutes

a legitimate medical purpose and the usual course of professional

practice.”).

     The government also relies on defendants’ own statements to

demonstrate that a medical standard of care existed at the time

of defendants’ treatment. In defending herself before the medical

licensing board, defendant Pliner stated she and Dr. Zolot

“understood that [they] had to be vigilant in [their] work with

patients in order to prevent possible abuse and diversion of

controlled substances.” Gov’t Opp. Mot. in Limine, Exh. H at 5.

Both defendants said they took certain precautions to guard

against abuse and diversion of drugs, including random urine

testing32, requiring patients to sign opiate agreements33, and

ceasing prescriptions for patients who demonstrated abuse or




     32
          Gov’t Opp. Mot. in Limine, Exh. H at 5.
     33
       Dr. Zolot’s Medical Peer Review Hr’g, Gov’t Opp. Mot. in.
Limine, Exh. I, at 44.

                                   36
        Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 37 of 47



diversion.34 In a previous trial defense expert, Dr. Warfield,

testified that, while “there’s a whole continuum of . . . what’s

under the standard of care” in the treatment of chronic pain, she

also acknowledged that “[t]here are things that fall outside the

standard of care.” Def. Opp. Mot. in Limine, Exh. E at 91, 127.

        Finally, the government relies on the book Responsible

Opioid Prescribing by Dr. Fishman was published in 2007. (Def.

Mot. in Limine, Exh. 38). The last charged death occurred in

2007.        The contents of this book have not been disclosed to the

Court. Without knowing what the book states, the Court has no

basis for concluding whether the experts can reasonably rely on

it for determining the standard of care for the years prior to

its publication. The ruling on whether experts may rely upon Dr.

Fishman’s book is deferred until the government provides evidence

that the book reflects medical practices at the time of the

treatment described in the indictment.

        In response to the government's position concerning the

medical standard of care, defendants argue that there were no

binding standards, requirements, or generally accepted practices

for how to treat patients with chronic pain at the time of

defendants’ practice. Articles on the subject of pain management

note that the “norms of drug taking and the epidemiology of

aberrant drug-taking behavior have not been clearly established.


        34
             Id.

                                      37
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 38 of 47



Therefore, clinicians generally lack information to guide

assessment of the severity of aberrant clinical occurrences.”35

Dr. Warfield also testified that there were no generally accepted

clinical practices regarding the use of drug testing until 2009.

Warfield Aff. ¶ 29. Further, defense experts Drs. Warfield and

McCarberg will both testify that the sources relied upon by the

government, the FSMB Model Policy and the BOR Prescribing

Practices Policy, are not intended to and do not (1) set any

standard of care, (2) establish any absolute course of care for

the specific challenges that arise in patient care, or (3)

identify best practices in the area of pain management. Instead,

they will describe how the FSMB Model Policy provides general

guidance and suggestions to encourage some level of consistency

in medical practice, while recognizing the physician’s discretion

in medical decision-making. Indeed, the Model Policy states

explicitly that it “is not intended to establish clinical

practice guidelines nor is it intended to be inconsistent with

controlled substance laws and regulations.” Model Policy at 2.


     35
       S.D. Passik et al., Pain clinicians’ ranking of aberrant
drug taking behavior, 17 J. Pain & Palliative Care
Pharmacotheraphy 39, 41 (2002). See also Edward Michna, et al.,
Urine Toxicology Screening Among Chronic Pain Patients on Opioid
Therapy: Frequency and Predictability of Abnormal Findings, 23
Cln. J. Pain 2 173, 177 (Feb. 2007) (“If it has been determined
that a patient misused their opioids, current literature,
unfortunately provides few treatment guidelines which are based
on empirical evidence. This is a largely unexplored research area
in opioid treatment, but a few general management principles do
apply.”).

                                   38
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 39 of 47



     The government properly objects to the opinions of Drs.

Warfield and McCarberg36 to the extent they opine as to whether

the BOR Prescribing Practices Policy is legally binding. See

Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 99 (1st Cir. 1997)

(“It is black-letter law that it is not for witnesses to instruct

the jury as to applicable principles of law, but for the judge.”)

(quotations omitted). However, these expert opinions are

admissible to the extent they are a description of medical

standards for pain management in the relevant timetable. The

motion to exclude the opinions of Drs. Warfield and McCarberg is

ALLOWED IN PART AND DENIED IN PART.

     a. Drs. Gilligan37 and Michna38


     36
       To the extent the defendants     have not identified the 1400
files reviewed by Drs. Warfield and     McCarberg, the defendants
must disclose the identity of those     files to the government
forthwith. See Gov’t Mot. in Limine     at 7.
     37
      Dr. Gilligan is currently the Director for the Center for
Pain Medicine at Massachusetts General Hospital (“MGH”). He
received his MD from Yale Medical School and an MBA from Harvard
Business School. He completed a postdoctoral fellowship in Pain
Medicine at MGH and is currently the Director of Clinical Trials
for MGH's pain management division. Dr. Gilligan has written
numerous peer-reviewed publications, has given several
presentations on pain management, including topics on methadone
treatment, and is also an instructor in anaesthesia at Harvard
Medical School. Defendants do not challenge Dr. Gilligan’s
qualifications.
     38
      Dr. Michna is a practicing anesthesiologist at the Pain
Management Center at Brigham and Women Hospital and a clinical
staff physician at the Dana-Farber Cancer Institute. He received
a law degree from Seton Hall University and a medical degree from
New Jersey Medical School. Dr. Michna is currently an assistant

                                   39
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 40 of 47



     The government relies on its Rule 16 disclosures of Dr.

Michna’s and Dr. Gilligan’s testimony as the bases for the

reliability of their opinions. Defendants argue these disclosures

are deficient. The disclosures provide summaries of the doctors’

expected testimony. Dr. Gilligan reviewed thirty patient files

and Dr. Michna reviewed sixteen different patient files. For each

patient, the summaries state at the outset that both doctors will

testify that the defendants’ prescription of controlled

substances to the patient was “outside the usual course of

practice.”39 The summaries list various deficiencies with the

defendants’ treatment of the patient that lead the experts to

conclude that prescriptions were administered outside the course

of usual practice. The deficiencies include failure to respond to

indicators that a patient was abusing or diverting controlled

substances; failure to provide an adequate medical basis for the

prescription of controlled substances; and inappropriate use of

template language for physical examinations. Finally, each

patient summary provides specific examples of these alleged



professor of anaesthesia at Harvard Medical School. He has given
dozens of presentations and written numerous articles on pain
management, including presentations on opioid treatment and
prescriptions. Defendants do not challenge Dr. Michna’s
qualifications.
     39
       After reviewing the file of David Brown, Dr. Gilligan did
not find that defendants acted without legitimate purpose or
outside the course of usual practice. (Def. Mot. in Limine, Exhs.
1, 6).

                                   40
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 41 of 47



deficiencies in the defendants’ practice.

     Missing from the summaries is sufficient explanation as to

the standard of care which should be applied for the treatment of

pain when there is problematic behavior by patients. Some of the

patient behavior described in these expert disclosures, such as

seeking early refills, claiming medication was lost or stolen,

and obtaining drugs from other sources, are indicators of

“problematic opioid use” described in the BOR Prescribing

Practices Policy. See BOR Prescribing Practices Policy at 38.

However, the experts do not refer to specific standards in the

BOR, or the other sources generally cited by the government, or

even provide testimony themselves about accepted medical practice

for responding to specific patient behavior. For example, with

respect to one patient file, Dr. Gilligan observes that on April

6, 2004, he tested positive for cocaine, positive for methadone

which he had not been prescribed, and negative for the oxycodone

he was prescribed. On April 12, 2004, he again tested positive

for cocaine. In June of 2004, Dr. Zolot notes these two positive

cocaine tests and responds by taking the patient off of OxyContin

and prescribing methadone. Based on these drug tests, Dr.

Gilligan concludes that Zolot violated the standard of medical

care by prescribing methadone. However, Dr. Gilligan does not

provide testimony regarding the applicable standard of care that

should be followed in pain management when a patient has positive


                                   41
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 42 of 47



drug tests for cocaine.

     After reading Dr. Michna’s and Dr. Gilligan’s summaries, the

Court concludes they do not sufficiently articulate the standard

of care they are applying to assess defendants’ conduct as out of

the course of usual practice in responding to the specific

patients with problem behavior.      They must specifically cite the

written standard they are relying on or provide testimony as to

the accepted standard in the field. The motion to exclude the

opinions of Dr. Michna and Dr. Gilligan is ALLOWED without

prejudice because the standard of care relied upon is not always

clear.40 However, the government may supplement the opinions of

both Dr. Michna and Dr. Gilligan, by explaining the medical

standard of care upon which their conclusions are based within 60

days of this opinion.

     b. Dr. Gerald Aronoff41

     40
      The defendants also challenged Dr. Gilligan’s and Dr.
Michna’s opinions regarding the general prescribing practices of
Dr. Zolot and Nurse Pliner because the sample size of files
reviewed was too small and unrepresentative of the entire clinic
practice. The government has represented that Drs. Gilligan and
Michna will not testify as to the general prescribing practices
in Dr. Zolot’s clinic and will confine themselves to the actions
described in those files actually reviewed. Accordingly, the
Court does not address this argument.
     41
      The Court did not receive a curriculum vitae for Dr.
Aronoff. However, based on disclosures, Dr. Gerald Aronoff is a
diplomate of the American Board of Pain Medicine and the American
Board of Psychiatry and Neurology. He is also certified with the
American Board of Forensic Medicine, the American Academy of
Disability Evaluating Physicians, and the American Board of
Independent Medical Examiners. Defendants do not challenge Dr.

                                   42
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 43 of 47



     Dr. Aronoff reviewed twenty-five patient files and did a

better job in detailing the patient’s history and specifying why

the defendants’ treatment was deficient, without legitimate

medical purpose, and outside the usual course of practice for

twenty-two patients. In a conclusion section, he states how

defendants’ behavior specifically violated the FSMB Model Policy.

The Model Policy contains seven criteria by which to evaluate

physician performance: Evaluation of the Patient, Treatment Plan,

Informed Consent and Agreement for Treatment, Periodic Review,

Consultation, Medical Records, and Compliance With Controlled

Substances Laws and Regulations. For each file reviewed, Dr.

Aronoff notes which of the seven criteria outlined in the Model

Policy the defendants violated, illustrating the violation with

specific evidence of defendants’ treatment, and using the

explicit language of the guidelines to frame the defendants’

conduct.

     This opinion is reliable because it applies the medical

standard identified to the evidence elicited from defendants’

patient files. The motion to exclude the opinion of Dr. Aronoff

is therefore DENIED.

     iii. Urine Drug Tests

     Finally, defendants challenge the government’s expert



Aronoff’s qualifications.


                                   43
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 44 of 47



opinions to the extent they rely on the results of urine drug

tests (“UDTs”) because the results of such tests were unreliable

for making clinical determinations during the relevant time

period. At the time of defendants’ actions, the results of UDTs

had limitations. UDTs could not provide information on specific

drug dosage or frequency of use.42 UDTs could result in false

positives,43 as well as false negatives due to the low

sensitivity of the tests to certain drugs.44 Accordingly,

scientific literature stressed caution in the use of UDTs in

clinical practice45 and recommended that UDTs not be used in

isolation to determine whether a patient is abusing or diverging




     42
      Douglas L. Gourlay, Howard A. Heit, and Yale H. Caplan,
Urine Drug Testing in Clinical Practice: Dispelling the Myths &
Designing Strategies, 12 (Ed. 3 2006) (“[A] UDT cannot indicate
the amount of drug taken, when the last dose was administered, or
the source of the drug.”) [hereinafter Yale H. Caplan, Urine Drug
Testing in Clinical Practice].
     43
      Stephen George and Robin A. Braithwaite, Use of On-Site
Testing for Drugs of Abuse, Clinical Chemistry 48:10, 1639–1646,
at 1639 (2002) (“On-site testing for drugs of abuse . . . may
yield false-positive or –negative results.”).
     44
      Forest Tennant, Urine and Blood Tests: Why and When to Use
Each Test in Pain Treatment, Practical Pain Management, 18–26, at
18 (June 2007) (“On-site testing will not detect low levels of
drugs. Consequently, a negative test may not necessarily mean
non-compliance.”).
     45
       George, supra note 43, at 1639 (“[UDTs] need to be used
with caution because a rapid but unconfirmed result may lead to
misdiagnosis and inappropriate treatment . . . .”).

                                   44
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 45 of 47



drugs.46

     Nonetheless, the scientific literature submitted by the

defendants demonstrates that, while UDTs had limitations, when

used properly in conjunction with other clinical information,

they were useful in determining whether a patient is misusing,

abusing, or diverting drugs.47 Indeed, the literature

particularly recommends drug screening through UDTs when a

physician prescribes controlled substances to a patient.48


     46
      George, supra note 43, at 1639 (On-site testing for drugs
of abuse “provide only initial screening data . . . .”); Tennant,
supra note 44, at 18 (“Final clinical decisions on drug abuse or
non-compliance should not solely be made by on-site testing. On-
site testing should be viewed as a preliminary screen and not a
definitive test.”); Yale H. Caplan, Urine Drug Testing in
Clinical Practice, supra note 42, at 9, 11 (UDT testing “in
isolation is often inadequate in a clinical practice . . . .
Healthcare professionals should use UDT results in conjunction
with other clinical information . . . .”).
     47
       George, supra note 43, at 1643 (“There are several
situations where [UDTs] could be required, such as immediate
clinical challenges of alleged or supposed drug abuse . . . .”);
Yale H. Caplan, Urine Drug Testing in Clinical Practice, supra
note 42, at 5 (“Appropriate use of [UDTs] may improve adherence
monitoring of healthcare professionals and offer greater
protection from drug misuse/addiction and diversion/trafficking .
. . . A UDT can aid the healthcare professional to diagnose or
disprove misuse of or addiction to illicit or non-prescribed
licit drugs.”); Tennant, supra note 44, at 27(“Urine and blood
tests have recently emerged as valuable clinical tools to enhance
treatment and prevent abuse and diversion. They are a valuable
adjunct to - but not a substitute for - the tried and true
physical exam and history.”).
     48
       Yale H. Caplan, Urine Drug Testing in Clinical Practice,
supra note 42 at 7, 17 (“[R]outine screening for a history of
misuse or addiction in all patients is appropriate before
prescribing any medication, especially a controlled substance. .
. . [UDTs] can be a simple and effective tool for healthcare

                                   45
     Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 46 of 47



Accordingly, to the extent the government experts have relied on

UDTs used in the initial screening of patients and ongoing

treatment, in conjunction with other clinical information, the

testimony relying on UDT results is reliable.

     The motion to exclude Dr. Aronoff’s testimony is DENIED. The

motion to exclude Dr. Michna’s and Dr. Gilligan’s testimony is

ALLOWED without prejudice to supplementation.

                                  IV.   ORDER

     The Motion to Exclude Expert Opinion Regarding Causation

(Docket No. 125) is ALLOWED IN PART AND DENIED IN PART. The

Motion to Exclude Expert Opinion Regarding Medical Practice

(Docket No. 123) is ALLOWED IN PART and DENIED IN PART. The

Motion to Preclude Expert Testimony at Trial (Docket No. 122) is

ALLOWED IN PART and DENIED IN PART. Any supplementation regarding

the cause of death shall be filed within 30 days of the Supreme

Court opinion issued in Burrage v. United States, 133 S. Ct. 2049

(2013). Any supplementation regarding the standard of care shall

be filed within 60 days of the date of this opinion.



                                   /s/ PATTI B. SARIS
                                  Patti B. Saris


professionals in the assessment and ongoing management of
patients who will be, or are being, treated over the long term
with opiods . . . .”); Tennant, supra note 44, at 18 (“It is
highly recommended that [UDTs] be used in all new patients before
opioids and other controlled substances are prescribed.”).

                                   46
Case 1:11-cr-10070-PBS Document 190 Filed 09/11/13 Page 47 of 47



                             Chief United States District Judge




                              47
